           Case 2:18-cv-04802-JD Document 32 Filed 12/28/20 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA,                                     CIVIL ACTION
         Plaintiff,

                 v.

 ONE (1) SIG SAUER, MODEL P320, 9                              NO. 18-4802
 MM SEMI-AUTOMATIC PISTOL
 BEARING SERIAL NUMBER 58C008744,
 and      ONE (1) SIG SAUER, MODEL
 P320, 9 MM SEMI-AUTOMATIC PISTOL
 BEARING SERIAL NUMBER 58A108984,
           Defendants,

                 and

 GERALD TALLEY,
        Claimant.

                                             ORDER

        AND NOW, this 28th day of December, 2020, upon consideration of Motion of United

States of America for Summary Judgment and Entry of Judgment and Order of Forfeiture

(Document No. 17, filed January 31, 2020), Memorandum of Law Argument for the

Government’s Motion for Summary Judgement [sic] (Document No. 28, filed August 7, 2020),

and Government’s Reply in Further Support of Motion of United States of America for Summary

Judgment and Entry of Judgment and Order of Forfeiture (Document No. 29, filed August 11,

2020), for the reasons stated in the Memorandum dated December 28, 2020, IT IS ORDERED

that:

    1. The Motion of United States of America for Summary Judgment and Entry of Judgment

and Order of Forfeiture is GRANTED.

    2. All right, title, and interest of all persons, and their heirs and assigns, including claimant

Gerald Talley, in the defendant property, One (1) Sig Sauer Model P320, 9 mm Semi-Automatic
          Case 2:18-cv-04802-JD Document 32 Filed 12/28/20 Page 2 of 2




Pistol Bearing Serial Number 58C008744 and One (1) Sig Sauer, Model P320, 9 mm Semi-

Automatic Pistol Bearing Serial Number 58A108984, is hereby FOREFITED TO AND

VESTED IN plaintiff United States of America pursuant to 18 U.S.C. § 924(d).

   3. The United States Marshals Service or its authorized designee shall dispose of the

defendant property in accordance applicable law and the rules of this Court.

                                                    BY THE COURT:

                                                    /s/ Hon. Jan E. DuBois

                                                       DuBOIS, JAN E., J.




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